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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                      Case No.: 18cv0428 DMS (MDD)
12                            Petitioners-Plaintiffs,
                                                            ORDER FOLLOWING STATUS
13     v.                                                   CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
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                          Respondents-Defendants.
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18             A status conference was held on July 12, 2019. After consulting with counsel and
19     being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.      The Dora Plaintiffs’ request to withdraw their pending motion at Docket No. 342 is
21     granted.
22     2.      The next Joint Status Report shall be filed on or before 3:00 p.m. on August 14,
23     2019.
24     3.      A further status conference shall be held on August 16, 2019, at 1:00 p.m. The dial-
25     in number for any counsel who wish to listen in only and members of the news media is as
26     follows.
27             a.    Dial the toll free number: 877-411-9748;
28             b.    Enter the Access Code: 6246317 (Participants will be put on hold until the

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                                                                                 18cv0428 DMS (MDD)
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 1                    Court activates the conference call);
 2           c.       Enter the Participant Security Code 08160428 and Press # (The security code
 3                    will be confirmed);
 4           d.       Once the Security Code is confirmed, participants will be prompted to Press
 5                    1 to join the conference or Press 2 to re-enter the Security Code.
 6     As above, members of the general public may attend in person. All persons dialing in to
 7     the conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
 8     proceedings.
 9           Counsel for the Ms. L. Class shall provide notice of this order to counsel for Plaintiffs
10     in any of the related cases that wish to appear.
11      Dated: July 15, 2019
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